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4                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
5                                     AT TACOMA

6    EUGENE RODRIGUEZ,
                                                        Case No. C20-6052 TLF
7                            Plaintiff,
           v.                                           ORDER GRANTING PLAINTIFF’S
8                                                       APPLICATION TO PROCEED IN
     COMMISSIONER OF SOCIAL SECURITY,                   FORMA PAUPERIS
9
                             Defendant.
10

11         Plaintiff’s application to proceed in forma pauperis (Dkt. 1) is GRANTED. Plaintiff

12   does not appear to have funds available to afford the $400.00 Court filing fee.

13         Dated this 9th day of November, 2020.

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17                                                   Theresa L. Fricke
                                                     United States Magistrate Judge
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     ORDER GRANTING PLAINTIFF’S APPLICATION TO
26   PROCEED IN FORMA PAUPERIS - 1
